        Case 3:24-cv-00961-JSC Document 8-6 Filed 02/20/24 Page 1 of 2



 1   Timothy M. Frank (California Bar No. 263245)
     timothy.frank@hnbllc.com
 2   HAGAN NOLL & BOYLE LLC
     820 Gessner, Suite 940
 3
     Houston, Texas 77024
 4   Telephone: (713) 343-0478
     Facsimile: (713) 758-0146
 5
     Attorney for Plaintiffs DISH Network L.L.C.
 6   and Sling TV L.L.C.
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                                Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                     DECLARATION OF MICHAEL JACZEWSKI
13

14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18           I, Michael Jaczewski, of Saint Petersburg, Florida declare as follow:
19           1.      I make this declaration based on personal knowledge and, if called upon to testify,
20   would testify competently as stated herein.
21           2.      I am the founder and principal of Toltec Investigations LLC (“Toltec”). Toltec was
22   established in October 2009 and has been providing investigative services since its inception. Prior
23   to that time, and since 2001, I have worked for several different agencies as a private investigator.
24   During my career, I have conducted and participated in hundreds of investigations, many of which
25   involved intellectual property rights.
26           3.      Toltec was tasked by NagraStar LLC to purchase the internet streaming television
27   service referred to as Sharma IPTV (the “Service”) from Defendant Vaneet Sharma. The purchase
28   was conducted by Toltec investigators working under my direction and supervision. I reviewed the

                                         Declaration of Michael Jaczewski
     Case No. 3:24-cv-00961-JSC                         1
        Case 3:24-cv-00961-JSC Document 8-6 Filed 02/20/24 Page 2 of 2



 1   report that corresponds with this purchase of the Service in preparing this declaration and relevant
 2   portions of that report are attached as Exhibit 1. Redactions were made to the report to protect the
 3   alias that was used in making the undercover purchase. The purchase records and communications
 4   contained in the report are true and correct copies of the originals. The report is referred to herein
 5   by the page number that appears in the lower right corner of each page.
 6           4.        On September 26, 2023, Toltec purchased a 12-month subscription to the Service
 7   using PayPal for $150 (plus $4.65 in PayPal fees for a total of $154.65). (Ex. 1 at 3, 9-11.) The
 8   payment recipient was identified as “Vaneet” with the email address vaneet@vastuexpertusa.com.
 9   (Id. at 3, 11.)
10           5.        Toltec corresponded with Vaneet, using the email address iptvsharma@gmail.com,
11   concerning the purchase of the Service. (Id. at 2, 6-12.) Vaneet requested from Toltec the MAC
12   address of the device that would be used to access the Service. (Id. at 3, 9-10.) Toltec received from
13   NagraStar the MAC address to associate with the purchase of the Service and Toltec provided that
14   MAC address to Vaneet. (Id. at 3, 10.) Vaneet confirmed the Service was activated for the device
15   corresponding with this MAC address and provided the portal URL http://smart4k.cc to access the
16   Service. (Id. at 4, 12-13.) Toltec provided the portal URL to NagraStar.
17           I declare under penalty of perjury that the foregoing is true and correct.
18   Executed on February__, 2024.
19

20
                                                    Michael Jaczewski
21

22

23

24

25

26

27

28


                                         Declaration of Michael Jaczewski
     Case No. 3:24-cv-00961-JSC                         2
